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                EXHIBIT 26
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3,283 Federal district court cases for William Haskell Alsup of
                                                                                                                                                 Page 1 of 2
N.D.Cal.



District Judge William Haskell Alsup of the U.S. District Court for the Northern District of California N.D.Cal.
Cases

 Showing 3,283 federal district court cases before District Judge William Haskell Alsup; pending between 2000-01-01 and 2021-06-29.; sorted
 by most recent docket activity.


Timing


                                                                      % of cases that
                                                                      reached event in

                                                                  less than    more than

                                                                         118 days

                                                            0 days                                           1.5 years                     3 years


                                                                  7                 118           323
      Dismiss (Contested)
      701 Cases reached Dismiss (Contested)                             50%    50%
      Median: 118 days

                                                                         81               178



                                                                  12                                  419                            882
      Summary Judgment
      301 Cases reached Summary Judgment                                 4%    96%
      Median: 419 days

                                                                                          295                 535



                                                                        63                                       573                 887
      Trial
      51 Cases reached Trial                                             4%    96%
      Median: 573 days
                                                                                                       440               695



                                                                  0               170                                          761
      Termination
      3,126 Terminated Cases                                            37%    63%
      Median: 170 days

                                                                         84                     355

                                                            0 days                                           1.5 years                     3 years




                                                    https://law.lexmachina.com/court/cand/judge/2827/cases?pending-from=2000-01-01&pending-
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    Event                                                         Cases Reaching Event             Median Days from Case Filing to Event

    Temporary Restraining Order (Grant)                                              7                                              n/a

    (Remaining Federal cases are not included)

    Temporary Restraining Order (Deny)                                               4                                              n/a

    (Remaining Federal cases are not included)

    Preliminary Injunction (Grant)                                                 15                                                51

    (Remaining Federal cases are not included)

    Preliminary Injunction (Deny)                                                  16                                                97

    (Remaining Federal cases are not included)

    Permanent Injunction (Grant)                                                   63                                               302

    (Remaining Federal cases are not included)

    Permanent Injunction (Deny)                                                      1                                              n/a

    (Remaining Federal cases are not included)

    FLSA Conditional Certification                                                   9                                              n/a

    (Remaining Federal cases are not included)

    Class Certification                                                            23                                               420

    (Remaining Federal cases are not included)

    Claim Construction Hearing                                                     45                                               318

    (Remaining Federal cases are not included)




                                                    https://law.lexmachina.com/court/cand/judge/2827/cases?pending-from=2000-01-01&pending-
